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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

JEREMY B. HALES,                         )
                                         )
     Plaintiff,                          )
                                         ) Case No.
                                         ) 1:24-cv-00045-AW-ZCB
vs.                                      )
                                         )
LYNETTE MICHELLE LACEY                   )
ALEXIS PRESTON                           )
                                         )
and                                      )
                                         )
JOHN COOK,                               )
                                         )
     Defendants.                         )
_________________________________________/
                 AFFIDAVIT OF JEREMY B. HALES

      BEFORE ME, the undersigned Notary Public, personally came and appeared

Jeremy B. Hales, who states I, Jeremy B. Hales, being duly sworn, hereby depose

and say:

      1.     To my knowledge, all of the facts stated in this affidavit are true and

correct.

      2.     I am over 18 years of age. I am fully competent to make this affidavit

and I have personal knowledge of the facts stated in this affidavit.

      3.     I am the Plaintiff in this lawsuit.



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      4.     This Affidavit is submitted in support of the Memorandum in

Opposition to Defendants’ Motion to Dismiss based on Fed. R. Civ. P. 12(b)(l).

      5.     I am one of the fortunate people who has been able to use the internet

to craft a living for myself with over 700,000 subscribers to my YouTube Channel

"What the Hales" (https://www.youtube.com/@WhatTheHales/community).

      6.     I have always had my domicile in Ohio, and Ohio is where I have my

permanent home. I have always lived in Ohio – it is the state where I was born in

1977. I intend to keep an Ohio domicile. My children live in Ohio.

      7.     In December 2020, I purchased a non-homestead property in Otter

Creek, Florida for business purposes. This location has better weather during the

winter months than exist in Ohio, and I don’t have to shut down a significant part of

my business during the winter months given that I have this Florida location for my

business.

      8.     Thus, since 2021 my YouTube Channel has afforded me the ability to

split my work time between Otter Creek, Florida and Peninsula, Ohio.

      9.     On occasion I use my platforms to benefit charities and to do various

giveaways to help deserving people. Part of my internet fame has also led to negative

attention from people who claim to be “fans.”

      10.    Defendants Mr. Cook and Ms. Preston are people who had started off

as fans but are now stalking me and my partner.


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      11.    Ms. Preston has had her own YouTube channel since 2020 and seeks

donations from the public on an almost constant basis, through PayPal, Venmo, and

her private Facebook pages.

      12.    Mr. Cook also has many Facebook pages. Ms. Preston and Mr. Cook

claim to run a sanctuary for tortoises. However, in October 2021, they moved and

bought property that is directly across the road from the Florida winter location for

my business.

      13.    Initially I believed Mr. Cook and Ms. Preston were fans, but they

continued to ask for financial help with their “nonprofit,” despite having moved it

into a less habitable place for their animals. As I continued to say no to their requests,

beginning in February-March, 2023, their behavior became more and more tortuous,

unstable and dangerous.

      14.    In April 2023, Mr. Cook posted online a large collection of sex toys and

stated that I was selling my items. Mr. Cook also made threats about posting pictures

of his penis in my partner's mouth.

      15.    In May 2023 my attorneys in Florida sent Mr. Cook and Ms. Preston

cease and desist letters, a copy of one being attached to my Complaint - but this did

little or nothing to curb their behavior.




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      16.   In May - June 2023, as outlined in my complaint, Ms. Preston posted

signs all over Otter Creek, Florida calling me an “Ohio rapist” etc., defaming me

and asking for others to run me and my partner back to Ohio.

      17.   Since May 2023 to date, Mr. Cook and Ms. Preston have created and

maintain multiple online groups dedicated to hating me and Mr. Cook made sexually

explicit posts about my partner and me.

      18.   In August 2023, Ms. Preston went so far as to email the mayor of

Peninsula, Ohio (who knows me very well) to complain specifically about me and

my partner and threaten us.

      19.   Mr. Cook’s and Ms. Preston’s online posts calling me a child predator

are constant and ongoing to this day. Their behavior is escalating, and they are

harassing me in Ohio and in Florida.

      20.   As a result, in September, 2023, in the Court of Common Pleas in

Summit County, Ohio, I filed civil lawsuits against Ms. Preston and Mr. Cook.

      21.   On October 10, 2023, a final Civil Stalking Protection Order was

entered in Ohio in my favor and against and Ms. Preston (CV2023 09 3595) Mr.

Cook (CV2023 09 3594), see attached Orders from the Court of Common Pleas

in Summit County, Ohio Exhibit "1" and Exhibit "2."

      22.   After a full evidentiary hearing the Ohio Court issued two Final Orders

of protection, the Court of Common Pleas in Summit County, Ohio (hereinafter, the


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“Ohio Court”) and made factual findings that Ms. Preston and/or Mr. Cook have

knowingly engaged in a pattern of contact that cause me to believe that Ms. Preston

and/or Mr. Cook will cause me physical harm or cause (or have caused) me mental

distress. See Exhibits “1” and “2.”

      23.    In the two Final Orders of Protection, the Ohio Court ordered Ms.

Preston and Mr. Cook to not initiate or have any contact with me or my residences,

businesses, places of employment, schools, daycare centers, or childcare providers.

Contact includes, but is not limited to, landline, cordless, cellular or digital

telephone; text; instant messaging; fax; email; voicemail; delivery service; social

media; blogging; writings; electronic communication; posting a message; or

communications by any other means directly or through another person.” See

Exhibits “1” and “2.”

      24.    Also, the Ohio Court told Ms. Preston and Mr. Cook that they may not

violate the order even with my permission, nor shall Ms. Preston and Mr. Cook

encourage any person to do any act prohibited by the Ohio Court. See Exhibits “1”

and “2.”

      25.    Obtaining these Ohio orders of protection was very important to me and

remains so as I have never intended to remain in Florida indefinitely. I have no

family in Florida. I do intend to remain in Ohio indefinitely.




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